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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEFFREY HALE, Individually and on Behalf
of All Others Similarly Situated,

Plaintiffs,

VS.
CREDITORS RELIEF, LLC,

Defendant.

Civil Action No.: 2:17-cv-02447-JIMV-MF

Civil Action

DOCUMENT ELECTRONICALLY FILED

 

 

 

DEFENDANT CREDITORS RELIEF LLC’S BRIEF IN SUPPORT OF ITS MOTION TO
DISMISS AND/OR DENY CLASS CERTIFICATION PURSUANT TO RULE 23

 

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PRELIMINARY STATEMENT

In his First Amended Complaint (“FAC”), Plaintiff Jeffrey Hale alleges that Defendant
Creditors Relief, LLC (“Creditors Relief’), a company that offers debt relief programs to
struggling businesses, is engaged in a nationwide effort to violate the Telephone Consumer
Protection Act (“TCPA”) “hundreds, if not thousands of” times over by marketing its programs
indiscriminately and with the aid of an impermissible auto-dialer. (Certification of Lee Vartan,
Esq. (“Vartan Cert.”), Exh. A at § 27). Hale seeks certification of a nationwide class and
appointment as its representative.

The FAC is grossly deficient. It alleges a violation of the TCPA as to Plaintiff based on a
“1-3 second pause” that preceded Plaintiff's connection to a “live agent,” which he claims, without
explanation, demonstrates that Defendant initiated the call with an auto-dialer, and a violation of
the TCPA as to “hundreds, if not thousands” of unknown others based on impossible knowledge
of Defendant’s “marketing plan.” (d. at J§[ 11, 18, 27). The discovery exchanged to date shows
that Plaintiffs claims fail as a matter of law and class certification must be denied. First, Creditors
Relief has never used an auto-dialer. All of its marketing calls were made by a live agent. If
Defendant did not use an auto-dialer—and Creditors Relief did not—then no individual or class
claim can be sustained under the TCPA. Second, Plaintiff's proposed class is a prohibited “fail-
safe” class, i.e., a class impermissibly defined to include only members whose claims would be
successful on the merits. Courts in this and other circuits have regularly refused to certify fail-safe
classes. Lastly, Plaintiff's proposed class cannot meet the predominance and ascertainability
requirements of Rule 23. Plaintiff's claimed knowledge of Defendant’s “marketing plan” is all
wrong. Defendant does not engage in a blind marketing strategy, blanketing businesses with
“unsolicited, autodialed calls.” (Id. at 11). Creditors Relief does the opposite. In fact, many of

the businesses contacted by Defendant provided Creditors Relief with advance consent to be

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contacted. (Id., Exh. B at 9). Because consent defeats a TCPA claim, and because Defendant’s
client database does not distinguish between clients who consented to be contacted and those who
did not, individual issues of consent would have to first be adjudicated to determine class
membership and, later, to determine Defendant’s liability. Those individual issues would
overwhelm common ones, and defeat the economy and efficiency intended by class action

treatment and Rule 23.

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STATEMENT FACTS
A, The Telephone Consumer Protection Act

Congress sought to address consumers’ concerns with undesired robocalls in the Telephone
Consumer Protection Act of 1991. The TCPA restricts calls both “to any residential telephone
line” and to “any telephone number assigned to a ... cellular telephone service.” 47 U.S.C. §
227(b)(1)(B), (A)Gii). The allegations in the FAC concern cellular telephones only. In that regard,
the TCPA makes it unlawful “to make any call (other than a call made for emergency purposes or
made with the prior express consent_of the called party) using any automatic telephone dialing
system ... to any telephone number assigned to a ... cellular telephone service ... unless such call
is made solely to collect a debt owed to or guaranteed by the United States.” 47 U.S.C. §
227(b)(1)(A)Gii) (emphasis added). The statute defines an “automatic telephone dialing system”
as “equipment which has the capacity—(A) to store or produce telephone numbers to be called,
using a random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §
227(a)(1).' Stated plainly, the TCPA makes it unlawful to call a cellular telephone using an
automatic telephone dialing system unless: (1) the call is made for emergency purposes; (2) the
call is made to collect a debt owed to or guaranteed by the United States; or (3) the called party
has provided advance consent.

To be an ATDS, the equipment must presently function as an ATDS, and not merely have

the future or latent capacity to function as such. See, e.g., Dominguez on Behalf of Himself v.

 

Yahoo, Inc., 894 F.3d 116, 118 Gd Cir. 2018) (citing favorably ACA International v. FCC and

 

 

adopting its holding that the “FCC had exceeded its authority by interpreting the term ‘capacity’

to include any latent or potential capacity”). As well, 1f the equipment requires manual human

 

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An “automatic telephone dialing system” 1s also known as an auto-dialer or ATDS.

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intervention to initiate a call, itis not an ATDS. See Collins v. Nat’] Student Loan Program, 360

 

F. Supp. 3d 268, 273 (D.N.J. 2018) (Bumb, J.) Gf equipment “cannot initiate calls without manual
human intervention by a clicker agent” equipment is not an ATDS under the TCPA); see also
Wilson v. Quest Diagnostics Inc., No. CV 2:18-11960, 2018 WL 6600096, at *3 (D.N.J. Dec. 17,
2018) (Martini, J.) (“[A] predictive dialer qualifies as an ATDS so long as it has ‘the [present]
capacity to dial numbers without human intervention.’”).

B. Creditors Relief, LLC

Headquartered in Bergen County, New Jersey, Creditors Relief offers debt relief programs
to struggling businesses across the country. (See Vartan Cert., Exh. A at fj 1, 3). Creditors Relief
does not market its programs to potential clients randomly or indiscriminately; rather, it markets
its programs to businesses that have either expressed interest in its programs or have a potential
need for those programs based on Defendant’s research. Specifically, Creditors Relief identifies
business leads in one of three ways: (1) certain businesses affirmatively contact Defendant in
response to Defendant’s advertising, including online advertising; (2) Defendant researches
Uniform Commercial Code (“UCC”) filings to identify businesses possibly in need of Defendant’s
services; and (3) Defendant employs third-party vendors that identify and provide Defendant with
businesses that consented to be contacted by Defendant. (See id., Exh. B at 9; see also Declaration
of Alan Tunit, “Tunit Decl.”) at § 3).

Regardless of origin, all client leads are entered into Defendant’s Client Relations Manager
(“CRM”) system. Specifically, the lead’s business name, primary contact, address, e-mail address,
and telephone number are entered into the CRM system. (See Tunit Decl. at ¥ 4; see also Vartan
Cert., Exh. B at 10). Importantly, how the client lead was first identified is not included in the
CRM system. That is, Creditors Relief does not know—and cannot now determine—if a lead
included in the CRM system first contacted Creditors Relief itself or was identified by a third-

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party vendor or was found through UCC filings. (See Tunit Decl. at 4] 5). Creditors Relief pays
special attention to the client lead’s telephone number. Defendant does not call cellular telephones.
Before a telephone number is entered into the CRM system, Defendant screens the number to
ensure that it is not a cellular number and does not appear on any federal or state Do Not Call
registry. (See Vartan Cert., Exh. B at 10; see also Tunit Decl. at { 6). Only telephone numbers
that successfully pass through all screens are entered into the CRM system.

Defendant’s client representatives use a program, Velocify Enterprise, to place all
outbound marketing calls. Velocify Enterprise is a click-to-dial system. That is, all outbound
marketing calls require the client representative to select a business from the CRM system to call
and then affirmatively “click” on that business’s telephone number in order for the number to be
dialed. (See Vartan Cert., Exh. B at 10, 12; see also Tunit Decl. at § 7). No call can be made
without active human intervention. Initial client calls are recorded, but they are saved for 30 days
only. If the business rejects Creditors Relief’s services, the representative makes a note in the
CRM system, and the business is not called again. If the business is interested in Creditors Relief’ s
services, a separate welcome call is made to the business. Generally, it is Creditors Relief’s
practice to save those calls indefinitely. (See Tunit Decl. at 4 8).

C. The First Amended Complaint

Plaintiff Jeffrey Hale alleges that he received a single, “autodialed” call from Creditors
Relief to his cellular telephone on March 8, 2017. (See Vartan Cert., Exh. A § 17). The call
originated from (201) 956-6966. (See id.). Hale further alleges that he was able to divine that the
call was made with the assistance of an auto-dialer proscribed by the TCPA based on a “1-3 second
pause” that preceded his connection to a “live agent.” (Id. § 18). According to the FAC, and
without any explanation as to why (or how Plaintiff would even know), “[s]uch a pause is
indicative of the Defendant using a prohibited autodialer.” (Id.). The FAC continues that upon

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“information and belief,” Defendant’s call to Hale was not an isolated event, but was instead one
of “hundreds, if not thousands” of calls made to individuals across the country on their cellular
telephones using a prohibited ATDS. (Id. § 27). Plaintiff attempts to substantiate his otherwise
unsupported and unsupportable allegations by claiming knowledge of Defendant’s “marketing
plan,” of which he could have no knowledge, and citing to a generic job posting on Indeed.com
and unattributed Internet postings about companies that may or may not have been Creditors
Relief. (Id. at § 11-13) (citing one unattributed Internet posting that read in relevant part,
“Googling indicates the call is likely from Creditors Debt Relief,” not Creditors Relief) (emphasis
added). In short, the FAC alleges that Creditors Relief violated the TCPA as to Plaintiff because
Plaintiff heard a “1-3 second pause” before speaking with a client representative, and purportedly
violated the TCPA as to “hundreds, if not thousands” more in a similar fashion because Plaintiff
said so. Plaintiff seeks certification of a nationwide class based on Federal Rules of Civil
Procedure 23(b)(2) and (b)(3) as follows:

Autodialed No Consent Class: All persons in the United States

from four years prior to the filing of this action through the present

who (1) Defendant (or an agent acting on behalf of Defendant)

called, (2) on the person’s cellular telephone, (3) using an autodialer,

and (4) for whom Defendant claims (a) they obtained prior express

written consent in the same manner as Defendant claims they

supposedly obtained prior express written consent to call the
Plaintiff, or (b) they did not obtain prior express written consent.

(Id. at §] 25).
The discovery conducted to date proves the impossibility of Plaintiff's claims, both on a

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class and individual basis. Defendant’s “marketing plan” does not “direct[] agents to market its
debt assistance options to businesses through unsolicited, autodialed calls to cellular phone

numbers and other telephone numbers registered on the DNC.” (id. at 11). The undisputed

evidence proves that Creditors Relief does the opposite. Its “marketing plan” is strategic, targeting

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only those businesses that have expressed interest, either directly or through a third-party, in being
contacted by Defendant, or who appear to be in need of Defendant’s services based on UCC filings.
(See id., Exh. B at 9-10; see also Tunit Decl. at 3). There is no blunderbuss, “call-the-world on
their cellular telephones” approach as alleged in the FAC. In fact, Creditors Relief is careful to
screen out cellular telephone numbers and numbers included on federal and state Do Not Call
registries before entering any telephone number into its CRM System. (See Vartan Cert., Exh. B
at 10; see also Tunit Decl. at 96). The undisputed evidence also proves that when Creditors Relief
does call, it is always a call initiated by a human agent. (See Vartan Cert., Exh. B at 12; see also
Tunit Decl. at 7). That is, there can be no individual or nationwide violation of the TCPA as a

matter of law because Creditors Relief does not now employ—and has never employed—an ATDS

to call its business leads.’

 

” It must also be noted that the discovery conducted to date makes it uncertain whether
Defendant even called Plaintiff on March 8, 2017. Creditors Relief has no record in its CRM
system of any outgoing call made to Jeffrey Hale, and Defendant does not use the telephone
number “(201) 956-6966” to place outbound calls. (See Vartan Cert., Exh. B at 11; see also
Tunit Decl. at 9] 9-10).

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ARGUMENT
POINT I

CLASS CERTIFICATION MUST BE DENIED AS A
MATTER OF LAW BECAUSE DEFENDANT DOES NOT
USE AN AUTO-DIALER

Where, as a matter of law, a class cannot be certified, a motion to deny class certification
should be granted, even if the litigation is at an early stage. See, e.g., Martinez v. Equifax Inc.,
No. CV 15-2100 (SRC), 2016 WL 226639, at *4 (D.N.J. Jan. 19, 2016) (Chesler, J.) (striking class
action allegations even though litigation was at an “early stage” because “as a matter of law, [] this
Court would never grant a motion for class certification involving this class definition”); see also
Picus v. Wal-Mart Stores, Inc., 256 F.R.D. 651, 655 (D. Nev. 2009) (“If, as a matter of law, a class
cannot be certified ..., it would be a waste of the parties’ resources and judicial resources to
conduct discovery on class certification.”) (citation and quotations omitted); Labou_v. Cellico
P’ship, No. 2:13-CV-00844-MCE, 2014 WL 824225, at *3 (E.D. Cal. Mar. 3, 2014) (same).
Plaintiffs proposed TCPA class can never be certified as a matter of law; Creditors Relief does
not use an auto-dialer in its business.

The TCPA makes it unlawful “to make any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using any automatic telephone

 

dialing system ... to any telephone number assigned to a ... cellular telephone service ... unless
such call is made solely to collect a debt owed to or guaranteed by the United States.” 47 U.S.C.
§ 227(b)(1)(A)Gii) (emphasis added). The statute defines an “automatic telephone dialing system”
as “equipment which has the capacity—(A) to store or produce telephone numbers to be called,
using a random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §
227(a)(1). To be an ATDS, the equipment must presently function as an ATDS, and not merely

have the future or latent capacity to function as such. See, e.g., Dominguez, 894 F.3d at 118 (citing

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favorably ACA International v. FCC and adopting its holding that the “FCC had exceeded its
authority by interpreting the term ‘capacity’ to include any latent or potential capacity”). Under
the TCPA then, a telephone call, even one made to a cellular telephone and without advance
consent, is only unlawful if an ATDS was used to initiate the call.

This Court has made clear that, as a matter of law, equipment that requires active human
intervention to place a telephone call is not an ATDS. In Fleming v. Associated Credit Services,
Inc., the Hon. Kevin McNulty, U.S.D.J., considered whether equipment that required the use of a
“clicker agent” to initiate a call, but otherwise required no human involvement (and actually
limited human agency), was an auto-dialer under the TCPA. 342 F. Supp. 3d 563, 577 (D.N.J.
2018) (McNulty, J.) (noting that while the equipment initiated calls “by a ‘click’ from a person
who is presented with a number for her to dial on a screen[,]” the “agent merely clicks from the
bottom to the top through the list, can only stop clicking numbers if he or she goes on break or
logs out of the system altogether, [and] cannot decide to skip calling a number or to call a different
number”). While acknowledging that the equipment required only a “minimal amount of ‘human
intervention,” the Court nevertheless held: “The action of the ‘clicker agent’ ... constitutes
enough ‘human intervention’ to bring the system outside the statutory definition of an ATDS.” Id.
at 578. A number of other federal courts have agreed, recognizing that a “dialer is not an autodialer
unless it has the capacity to dial numbers without human intervention.” Id. at 577; see, e.g., Smith
v. Stellar Recovery, Inc., No. 2:15-CV-11717, 2017 WL 955128, at *3 (E.D. Mich. Mar. 13, 2017)
(“Since the ‘basic function’ of an autodialer is the capacity to dial phone numbers ‘without human
intervention,’ and the HCI system lacks that capacity, the HCI is not an autodialer.”); Pozo v.
Stellar Recovery Collection Agency, Inc., No. 8:15-CV-929-T-AEP, 2016 WL 7851415, at *6

(M.D. Fla. Sept. 2, 2016) (“Because [defendant’s] HCI system required its representatives to

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manually dial all calls and was not capable of making any calls without human intervention,
[defendant] did not employ an autodialer.”); Schlusselberg v. Receivables Performance Mgmt.,
LLC, No. CV 15-7572(FLW), 2017 WL 2812884, at *4 (D.N.J. June 29, 2017) (Wolfson, C.J.)
(citing Pozo and holding that where equipment “did not allow any calls to be automatically made
by the system” and “clicker agents initiated all calls by clicking a dialogue box,” the equipment
was not an ATDS); Arora v. Transworld Sys. Inc., No. 15-CV-4941, 2017 WL 3620742, at *3
(N.D. Hl. Aug. 23, 2017) (“[T]he numbers are stored in a ‘campaign database’ on a LiveVox server
and ‘presented to the [clicker] agent’ through a system component called an Automatic Call
Distributor. Thus, every call made using the Human Call Initiator requires direct human
intervention to initiate. Therefore, this Court, like the previous Courts who have considered this
technology, finds that Human Call Initiator system does not constitute an autodialer.”).

Creditors Relief uses a click-to-dial system to initiate all of its outbound marketing calls.
Active human intervention is always required. In fact, Defendant’s Velocify Enterprise system
requires more human intervention than the defendant’s equipment in Fleming did. Defendant’s
client representatives must access the CRM system, select a business to call, and then initiate the
call by clicking on the business’s telephone number. (See Vartan Cert., Exh. B at 12; see also
Tunit Decl. at 7). The representative is free to stop clicking at any time, skip a business, or call
a different business. Cf. Fleming, 342 F. Supp. 3d at 577. No amount of discovery will change
these facts. Defendant’s click-to-dial system requires active human participation and, therefore,
is not an ATDS as a matter of law.’ Plaintiffs claim must be dismissed, and class certification

must be denied.

 

* With leave of the Court, Defendant is prepared to make a summary judgment motion pursuant
to Fed. R. Civ. P. 56 if the Court denies Defendant’s Motion to Deny Class Certification.

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POINT I

PLAINTIFE’S PROPOSED CLASS IS AN IMPERMISSIBLE
“FAIL SAFE” CLASS AND CANNOT BE CERTIFIED

Plaintiff's proposed class is an impermissible “fail-safe” class, requiring denial of class
certification. A fail-safe class is “one that is defined so that whether a person qualifies as a member
depends on whether the person has a valid claim.” Zarichny v. Complete Payment Recovery

Servs., Inc., 80 F. Supp. 3d 610, 623 (E.D. Pa. 2015) (citing Messner_v. Northshore Univ.

 

HealthSystem, 669 F.3d 802, 825 (7th Cir. 2012)). “Its existence, therefore, cannot be ascertained
until the conclusion of the case, when liability is determined.” Zarichny, 80 F. Supp. 3d at 623.
Fail-safe classes are prohibited because they allow a putative class member to seek a remedy, but
not be bound by an adverse judgment-—either those “class members win or, by virtue of losing,

they are not in the class and, therefore, not bound by the judgment.” Randleman v. Fidelity Nat’!

 

Title Ins. Co., 646 F.3d 347, 352 (6th Cir. 2011).

Zarichny is instructive. In that case, plaintiff alleged that defendants violated the Fair Debt
Collection Practices Act and the TCPA and sought class certification. 80 F. Supp. 3d at 613-14.
Relevant here, plaintiff sought to certify a class under the TCPA of people “who received one or
more telephone calls from [d]efendants on the individual’s cellular telephone that was initiated
using an automatic telephone dialing system” without prior consent. Id. at 614. The defendants
moved to dismiss the plaintiff's first amended complaint under Rule 12(b)(6) and strike the
putative class action claims under Rule 12(f). Id. at 613. On the TCPA class action claim,
defendants argued:

If the [p]laintiff successfully demonstrates that the [d]efendant made
calls using ... [a] prerecorded voice to the class members’ cell
phones without the class members’ prior express consent, then the

class members win. However, if the [p]laintiffs are unsuccessful in
meeting their burden of proof, the class does not exist and the class

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is not bound by the judgment in favor of the [d]efendant. This is the
definition of a prohibited fail-safe class.

Id. at 624 (emphasis added). Notably, the plaintiff responded that defendants’ motion should be
denied because she had not yet moved for certification and that “the class definition can be revised”
through the course of litigation. Id. at 624. The district court sided with defendants, holding that
“Zarichny’s TCPA class purports to include only those who did not provide [defendants] with
‘prior consent’” and that no amount of discovery could resurrect plaintiffs class definition. Id. at
623. Specifically, the court emphasized that before a court in the Third Circuit could consider the
four requirements of Rule 23(a), it must first ensure that “(1) ... the perimeter of the class and the
claims to be given class treatment pursuant to Rule 23(c)(1)(B) [are clearly defined], and (2)
determine whether the class is objectively ascertainable.” Id. at 625. The court held that the
putative class did not meet those requirements because it was an impermissible fail-safe class:
Fail-safe classes [are] one category of classes failing to satisfy the

ascertainability requirement. ... The putative TCPA class is
comprised of those people who received [defendant] telephone calls

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without the recipient’s “prior express consent.” Since we are at the
outset of this litigation, there is no way to provide notice to that
putative class without the sort of extensive fact-finding that class
actions should avoid. Similarly, at the conclusion of the litigation,
should [defendant] prevail against [plaintiff], any other putative
class recipient would be free to litigate the same claim against
[defendant].

Id. at 625-26 (citations and quotation omitted).

Other federal courts have likewise denied certification to putative fail-safe classes in the
TCPA context. See, e.g., Messner, 669 F.3d at 825 (“[T]he problem of the ‘fail-safe’ class: one
that is defined so that whether a person qualifies as a member depends on whether the person has
a valid claim. Such a class definition is improper because a class member either wins or, by virtue
of losing, is defined out of the class and is therefore not bound by the judgment.”); Bais Yaakov

of Spring Valley v. ACT, Inc., 328 F.R.D. 6, 14 (D. Mass. 2018) (“A ‘fail-safe class’ ‘is defined

 

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so that whether a person qualifies as a member depends on whether the person has a valid claim
on the merits.’ ... The First Circuit has noted that these classes are ‘inappropriate’ as they make it
‘virtually impossible for the Defendants to ever “win” the case, with the intended class preclusive
effects.””’); Swetic Chiropractic & Rehab. Ctr. v. Foot Levelers, Inc., 235 F. Supp. 3d 882, 891
(S.D. Ohio 2017) (‘The Court agrees with [defendant] that the class definition in the Complaint
would constitute an improper fail-safe class in any attempt to certify. The class only includes
persons who either did not give permission or received a fax which did not contain a proper opt-
out notice.”).

Plaintiff's putative class is an obvious fail-safe class. The proposed class to be certified

includes:

All persons in the United States from four years prior to the filing of

this action through the present who . . . [Four years represents the
statute of limitations for TCPA claims. Bais Yaakov, 936 F. Supp.
2d at 281]

(1) Defendant (or an agent acting on behalf of Defendant) called,

(2) on the person’s cellular telephone [Prohibited under 47 U.S.C. §
227(b)(1)(A)G1i) when combined with (3) & (4)]

(3) using an autodialer, and [Prohibited under 47 U.S.C. §
227(b)(1)(A) when combined with (2) & (4)]

(4) for whom Defendant .. . did not obtain prior express written
consent [Prohibited under 47 U.S.C. § 227(b)(1)(A) when combined
with (2) & (3)].

(Vartan Cert., Exh. A at §] 25). The proposed class—individuals who received a call from
Defendant initiated by an ATDS within the statute of limitations, on their cellular telephones, and
without providing advance consent—makes plain that only individuals with meritorious claims
would be included in the class. In other words, the proposed class consists only of persons who
can establish that Defendant violated the TCPA as to them. This is a no-lose situation for potential

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members of the class: either those “class members win or, by virtue of losing, they are not in the
class” and are not bound by the judgment. Randleman, 646 F.3d at 352. As such, this Court should
deny certification because Plaintiffs putative class is an impermissible fail-safe class.

POINT Il

PLAINTIFF’S PROPOSED CLASS FAILS TO SATISFY
THE PREDOMINANCE AND ASCERTAINABILITY
REQUIREMENTS OF RULE 23

“The class action is an exception to the usual rule that litigation is conducted by and on
behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348
(2011) (citation and quotations omitted). “To invoke this exception, every putative class action
must satisfy the four requirements of Rule 23(a) [numerosity, commonality, typicality, and
adequacy] and the requirements of either Rule 23(b)(1), (2), or (3).” Marcus v. BMW of N. Am.,
LLC, 687 F.3d 583, 590 (d Cir. 2012), Plaintiffbears the burden of satisfying all the requirements

of Rule 23, and his burden is a demanding one. See, e.g., Wetzel v. Liberty Mut. Ins. Co., 508

 

F.2d 239, 246 (3d Cir. 1975); see also Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 615, 1175S.
Ct. 2231, 2246, 138 L. Ed. 2d 689 (1997) (holding that district courts must take a “close look” at
whether plaintiff has carried her burden before certifying a class); In re Hydrogen Peroxide
Antitrust Litig., 552 F.3d 305, 309 (3d Cir. 2008) (“Class certification is proper only ‘if the trial
court is satisfied, after a rigorous analysis, that the prerequisites’ of Rule 23 are met.”) (citing Gen.

Tel. Co. of S.W. v. Falcon, 457 U.S. 147, 161 (1982) (emphasis added).

 

Hale has not satisfied his demanding burden. He seeks certification of a class pursuant to
Rule 23(b)(3), (Vartan Cert., Exh. A at § 25), but the predominant issue in the litigation—
consent—is not susceptible to class-wide proof. As well, Hale’s proposed class is not ascertainable

under Third Circuit precedent.

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A. Plaintiff's Proposed Class Fails to Meet the Predominance Requirement of
Rule 23 because Class-wide Proof of Consent is Not Possible.

“Under Rule 23(b)(3), ‘questions of law or fact common to class members [must]
predominate over any questions affecting only individual members.’ This predominance
requirement ‘tests whether proposed classes are sufficiently cohesive to warrant adjudication by
representation.”” Marcus, 687 F.3d at 600 (quoting Windsor, 521 U.S. at 623). “To assess
predominance, a court at the certification stage must examine each element of a legal claim

‘through the prism’ of Rule 23(b)(3).” Marcus, 687 F.3d at 600 (quoting In re DVI, Inc. Sec.

 

 

Litig., 639 F.3d 623, 630 (Gd Cir. 2011)). “A plaintiff must ‘demonstrate that the element of [the
legal claim] is capable of proof at trial through evidence that is common to the class rather than
individual to its members.’” Marcus, 687 F.3d at 600 (quoting In re Hydrogen Peroxide Antitrust
Litig., 552 F.3d at 311); see also Gene And Gene LLC v. BioPay LLC, 541 F.3d 318, 326 (5th Cir.
2008) (“The predominance inquiry requires a court to consider how a trial on the merits would be
conducted if a class were certified.”) (citation and quotations omitted). ““Because the nature of the
evidence that will suffice to resolve a question determines whether the question is common or
individual, a district court must formulate some prediction as to how specific issues will play out
in order to determine whether common or individual issues predominate in a given case.” Marcus,
687 F.3d at 600 (citation and quotations omitted). Here, the Court’s “prediction” does not require
much imagination. “[T]he issue of consent will entirely determine how the proposed class-action
trial will be conducted on the merits.” BioPay, 541 F.3d at 327. The class claim in BioPay was
(nearly) factually identical to Plaintiff's class claim.

BioPay, through a third-party contractor, sent over 4,000 fax messages advertising its
services to potential clients in Louisiana. One of BioPay’s faxes was sent to Gene & Gene, LLC.

Gene filed a class-action suit against BioPay alleging that BioPay violated the TCPA by sending

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unsolicited fax advertisements to Gene and to an unidentified number of class members. See id.
at 322-23. “BioPay argued that determining whether the recipient of each fax had consented to its
transmission would require a series of individual factual determinations, or mini-trials, which
made class certification improper.” Id. at 323. BioPay’s argument was based on the fact that in
addition to purchasing databases from which it culled fax numbers, BioPay also culled fax numbers
from other sources, including “from information submitted by merchants through BioPay’s
website, from information submitted at trade shows BioPay attended, and also from lists of
companies with which BioPay or its affiliates had an established business relationship.” Id.
BioPay also proffered evidence that its database did not “consistently or accurately reflect”
whether the recipient had provided advance consent. Id. The result, according to BioPay, was
there was “no class-wide basis by which to distinguish those fax recipients who had consented to
receiving faxes from those who had not consented, which suggests that the determination of
consent, or the lack thereof, would require hundreds of mini-trials.” Id. Gene countered that “the
requirements of Rule 23(a) and (b)(3) [were] satisfied because BioPay engaged in a common
course of conduct.” Id. at 325. The Fifth Circuit agreed with BioPay, and held that “the
predominant issue of fact is undoubtedly one of individual consent” and “class-wide proof of
consent [was] not possible” because:

the evidence shows that the recipients’ fax numbers were collected

over time and from a variety of sources, [and] individual inquiries

of the recipients are necessary to sort out which transmission was

consented to and which was not. In short, there is no class-wide

proof available to decide consent and only mini-trials can determine
this issue.

Id. at 327-29 (emphasis in original). The Sixth Circuit reached the same conclusion in Sandusky

Wellness Center., LLC v. ASD Specialty Healthcare, Inc.

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Like BioPay, Sandusky involved a class claim under the TCPA. Defendant, a
pharmaceutical distributor, purchased a list of physicians from a third-party vendor, condensed
that list down to 53,502 names, and sent all of those physicians a one-page fax advertising the drug
Prolia. Approximately 75%, or 40,343 of the faxes, were successfully transmitted. See 863 F.3d
460, 462, 464-65 (6th Cir. 2017). A physician employed by plaintiff claimed to be among the
40,343 and filed a lawsuit alleging a violation of the TCPA and seeking to certify a class of all
recipients of the Prolia fax. Id. at 462. Although the “Prolia list” was condensed from a physician
list purchased by defendant from a third-party, not all of the physicians on the list were previously
unknown to defendant; some were current or former customers of defendant. Id. at 464-65. Under
certain circumstances, the TCPA allows for unsolicited faxes to be sent to a recipient where the
sender and recipient have an “established business relationship.” See 47 U.S.C. § 227(b)(1)(C)(i)-
(iii). Plaintiff's proposed class, however, did nothing to “distinguish between which faxes were
unsolicited and which were solicited.” Sandusky Wellness Ctr., 863 F.3d at 465. Noting this, the
district court denied plaintiff's motion for class certification because “two individualized issues—
class member identity [the fax logs no longer existed] and consent—were central to the lawsuit
and thus prevented ‘questions of law or fact common to class members [from] predominat[ing].’”
Id. at 465. The appellate court agreed, holding:

[I]f [plaintiff's] 40,343-member class were certified, the district
court would be tasked with filtering out those members to whom
[defendant] was not liable—-those individuals who solicited the
Prolia fax. Regardless of other questions that may be common to
the class, identifying which individuals consented would
undoubtedly be the driver of the litigation. In other words, one
substantive issue undoubtedly will determine how a trial on the
merits will be conducted if the proposed class is certified. This issue

. 1s whether [defendant’s] fax advertisements were transmitted
without the prior express invitation or permission of each recipient.

Thus, the predominant issue of fact is undoubtedly one of individual
consent.

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Id. at 468 (citation and quotations omitted).

As in BioPay and Sandusky, the “predominant issue of fact” in Plaintiffs proposed class
is “individual consent.” Creditors Relief’s clients are not from a single source. Instead, and
identical to BioPay, some of Defendant’s clients consented to be contacted—ceither affirmatively
by themselves contacting Creditors Relief or in response to a third-party solicitation. (See Vartan
Cert., Exh. B at 9; see also Tunit Decl. at 3). Defendant’s CRM system does not distinguish
between client types. (See Tunit Decl. at ¢5). Consequently, if Plaintiffs class were certified, all
of the Court’s energies would be directed at attempting to separate the “consent clients” from the
“no-consent clients,” and, as a result, the “issue of consent [would] entirely determine how the
proposed class-action trial [would] be conducted on the merits.” BioPay, 541 F.3d at 327. Because
issues of individual consent predominate, Hale cannot satisfy the “far more demanding”
predominance requirement of Rule 23(b)(3), and class certification must be denied. Newton v.
Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 186, n.32 (3d Cir. 2001) (noting that
the predominance requirement of Rule 23(b)(3) is “far more demanding” than the related concept
of commonality in Rule 23(a)(3)); see also Forman v. Data Transfer, Inc., 164 F.R.D. 400, 404
(E.D. Pa. 1995) (denying class certification of plaintiffs TCPA claim because, among other things,
the “gravamen of plaintiff's complaint [was] not a common course of conduct by the defendant,
but rather a series of individual transmissions under individual circumstances” which failed to
meet the predominance requirement of Rule 23(b)(3)).

B. Plaintiff's Proposed Class Fails to Meet the Ascertainability Requirement of

Rule 23 because Determining Class Membership Will Require Mini-Trials on
the Merits.

“Class ascertainability is an essential prerequisite of a class action, at least with respect to
actions under Rule 23(b)(3). [T]here is no reason to doubt that the rigorous analysis requirement

applies with equal force to all Rule 23 requirements.” Carrera v. Bayer Corp., 727 F.3d 300, 306

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(3d Cir. 2013) (citations and quotations omitted). “The ascertainability inquiry is two-fold,
requiring a plaintiff to show that: (1) the class is ‘defined with reference to objective criteria’; and
(2) there is ‘a reliable and administratively feasible mechanism for determining whether putative
class members fall within the class definition.’” Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d Cir.

2015) (quoting Marcus, 687 F.3d at 593-94). “Ascertainability mandates a rigorous approach at

 

the outset because of the key roles it plays as part of a Rule 23(b)(3) class action lawsuit. First, at
the commencement of a class action, ascertainability and a clear class definition allow potential
class members to identify themselves for purposes of opting out of a class. Second, it ensures that
a defendant’s rights are protected by the class action mechanism. Third, it ensures that the parties
can identify class members in a manner consistent with the efficiencies of a class action.” Carrera,
727 F.3d at 307.

In Marcus, the Third Circuit applied its “rigorous” ascertainability requirement, and held
that where “class members are impossible to identify without extensive and individualized fact-

finding or ‘mini-trials,’ then a class action is inappropriate.” Marcus, 687 F.3d at 593. Such was

 

the case in Marcus, where an automobile lessee brought a putative class action against the vehicle’s
automobile and tire manufacturers alleging consumer fraud, breach of warranty, and breach of
contract claims relating to defective “run-flat” tires. Id. Neither defendant, however, maintained
records that demonstrated whether a putative class member’s run-flat tires “ha{d] gone flat and
been replaced, as the class definition require[d].” Id, at 594. Because of that, and because plaintiffs
had failed to propose “a reliable, administratively feasible alternative” to identify class members,
the Third Circuit held that the proposed class was not ascertainable. Id. In reaching its conclusion,

the court cited favorably decisions from other courts holding that “where nothing in company

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databases shows or could show whether individuals should be included in the proposed class, the
class definition fails.” Id. at 593.

The Third Circuit reached the same conclusion in Carrera, a putative class action alleging
that Bayer Healthcare falsely and deceptively advertised a multivitamin with purported weight loss
properties, WeightSmart, to consumers. As in Marcus, there was no ready way to determine class
membership because there was “no dispute that class members [were] unlikely to have
documentary proof of purchase, such as packaging or receipts” and Bayer maintained “no list of
purchasers because ... it did not sell WeightSmart directly to consumers.” Carrera, 727 F.3d at
304. Plaintiff proposed that the class be ascertained by “using affidavits of class members attesting
to their purchases of WeightSmart.” Id. at 308. The Third Circuit rejected plaintiffs proposal,
holding: “A defendant has a similar, if not the same, due process right to challenge the proof used
to demonstrate class membership as it does to challenge the elements of a plaintiff's claim,” id. at
307, and concluding that the use of affidavits would eviscerate that right because there was “a
significant likelihood” of “fraudulent or inaccurate claims” that would both “dilute the recovery
of true class members” and leave Bayer exposed to a “new action” because of plaintiff's failure to
satisfy the adequacy requirement. Id. at 310. See also Marcus, 687 F.3d at 594 (cautioning against
“a method that would amount to no more than ascertaining [a class] by potential class members’
say so” because “to accept as true absent persons’ declarations that they are members of the class,
without further indicia of reliability, would have serious due process implications”); Sandusky
Wellness Ctr., 863 F.3d at 466 (noting that the district court was correct to conclude that
identifying class members “with sole reliance on individual affidavits was equally sufficient to
preclude certification” because of plaintiffs failure to meet Rule 23’s ascertainability

requirement).

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The same concern of “mini-trials” on the merits that permeated Marcus and Carrera is
present here. Defendant’s CRM system does not track whether a client found Creditors Relief
through Defendant’s advertising efforts or a third-party vendor, i.e., the client consented to be
contacted by Creditors Relief, or Creditors Relief found the client through research into public
UCC filings, Le., the client did not consent to be contacted. Accordingly, there are only three
possible ways to determine class membership. First, impermissible mini-trials to determine the
client’s method of first contact by Defendant. Second, impermissible client affidavits that would

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result in class admission by clients’ “say so” alone. Or, third, some far-reaching exploration of
Creditors Reliefs and its third-party vendors’ documents and databases and comparison of those
documents and databases to Defendant’s CRM system in an attempt to separate the “consent
clients” from the “no-consent clients.” That would require (at least) tens of thousands of pages of
document discovery and thousands of hours of work all based on a FAC that alleges that Defendant
violated the TCPA as to Plaintiff because Plaintiff believes that he heard a “1-3 second pause”

before being connected to a client representative and violated the TCPA as to “hundreds, if not

thousands” of unknown (and unknowable) others because Plaintiff believes they exist.

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CONCLUSION

For the foregoing reasons, Defendant Creditors Relief, LLC respectfully requests this

Court deny certification of Plaintiff's proposed class.

Respectfully submitted,

CHIESA SHAHINIAN & GIANTOMASI PC
Attorneys for Defendant
Creditors Relief, LLC

 

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